Case 2:10-cr-06089-RMP   ECF No. 209   filed 01/09/12   PageID.1117 Page 1 of 6
Case 2:10-cr-06089-RMP   ECF No. 209   filed 01/09/12   PageID.1118 Page 2 of 6
Case 2:10-cr-06089-RMP   ECF No. 209   filed 01/09/12   PageID.1119 Page 3 of 6
Case 2:10-cr-06089-RMP   ECF No. 209   filed 01/09/12   PageID.1120 Page 4 of 6
Case 2:10-cr-06089-RMP   ECF No. 209   filed 01/09/12   PageID.1121 Page 5 of 6
Case 2:10-cr-06089-RMP   ECF No. 209   filed 01/09/12   PageID.1122 Page 6 of 6
